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                   SC NAACP v. Alexander,
       D.S.C. Case No. 3:21-cv-03302-MGL-TJH-RMG




                     Exhibit F
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                                                                       Page 1

 1                   IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF SOUTH CAROLINA
 2                            COLUMBIA DIVISION
                    CASE NO. 3:21-CV-03302-MBS-TJH-RMG
 3
         THE SOUTH CAROLINA STATE CONFERENCE OF
 4       THE NAACP, AND TAIWAN SCOTT, ON BEHALF
         OF HIMSELF AND ALL OTHER SIMILARLY
 5       SITUATED PERSONS,
 6                   Plaintiffs,
 7              vs.
 8       THOMAS C. ALEXANDER, HENRY D. MCMASTER,
         IN HIS OFFICIAL CAPACITY AS GOVERNOR OF
 9       SOUTH CAROLINA; HARVEY PEELER, IN HIS
         OFFICIAL CAPACITY AS PRESIDENT OF THE
10       SENATE; LUKE A. RANKIN, IN HIS OFFICIAL
         CAPACITY AS CHAIRMAN OF THE SENATE
11       JUDICIARY COMMITTEE; JAMES H. LUCAS, IN
         HIS OFFICIAL CAPACITY AS SPEAKER OF THE
12       HOUSE OF REPRESENTATIVES; CHRIS MURPHY,
         IN HIS OFFICIAL CAPACITY AS CHAIRMAN OF
13       THE HOUSE OF REPRESENTATIVES JUDICIARY
         COMMITTEE; WALLACE H. JORDAN, IN HIS
14       OFFICIAL CAPACITY AS CHAIRMAN OF THE
         HOUSE OF REPRESENTATIVES ELECTIONS LAW
15       SUBCOMMITTEE; HOWARD KNABB, IN HIS
         OFFICIAL CAPACITY AS INTERIM EXECUTIVE
16       DIRECTOR OF THE SOUTH CAROLINA STATE
         ELECTION COMMISSION; JOHN WELLS, JOANNE
17       DAY, CLIFFORD J. ELDER, LINDA MCCALL,
         AND SCOTT MOSELEY, IN THEIR OFFICIAL
18       CAPACITIES AS MEMBERS OF THE SOUTH
         CAROLINA STATE ELECTION COMMISSION,
19
                         Defendants.
20
21       DEPOSITION OF:         ANDREW THEODORE FIFFICK
                                (Appearing via VTC)
22
         DATE:                  July 21, 2022
23
         TIME:                  10:10 a.m.
24
25

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                                                                   Page 136

 1       ask you not to do it.          That was sort of a -- like I
 2       said, I would call that a postulate.
 3                   Q.   Were you ever instructed as a criteria
 4       to make a 6-1 Republican-leaning map?
 5                   A.   A one -- make one lean Republican?
 6                   Q.   Make six lean Republican, one not --
 7                   A.   I don't recall --
 8                   Q.   -- districts?
 9                   A.   No, I don't recall ever having anybody
10       ask me to do that.        But it's all a matter of
11       semantics.       I mean, you can number anything you
12       want.       You can change the numbers.           You can swap
13       the numbers, the 1st on the 6th, the 6th for the
14       1st.       But no, no one ever asked me.
15                   Q.   So it was not your understanding that
16       you were driven or members were driven to create a
17       congressional map where six districts based upon
18       political data or some other information suggested
19       that they would likely vote for Republican
20       candidates as compared to one district that would
21       likely vote for Democratic candidates?                  That was
22       not something that guided the work that you were
23       aware was being done in the congressional mapping?
24                   A.   Again, that was the whole context --
25                   Q.   Yes, it was long.           It got narrative.

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